Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17   Page 1 of 23 PageID 21




                                                    EXHIBIT 1
Details                                                                                                    Page 1 of 22

             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17                     Page 2 of 23 PageID 22
             Case Information




             DC-16-03036           298th District Court   TOBOLOWSKY,
                                                          EMILY

             03/14/2016            OTHER (CIVIL)          ACTIVE




             Party


                                                                        Ú
             MONTAGE MORTGAGE, LLC                        Lead Attorney
                                                          BRUNER, BRYAN D
                                                          Retained




                                                                          Ú
             PACIFIC UNION FINANCIAL, LLC                 Lead Attorney
             Address                                      PAINTER, ANN
             BY SERVING ITS REGISTERED AGENT CT           MARIE
             CORPORATION SYSTEM                           Retained
             1999 BRYAN ST SUITE 900
             DALLAS TX 75201-3136




                                                                              Ú
                                                          Attorney
                                                          MCCAFFITY, SEAN
                                                          J
                                                          Retained

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                     10/27/2017
Details                                                                                        Page 2 of 22

             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17         Page 3 of 23 PageID 23




                                                    Attorney
                                                    RODENBERG,
                                                    JODY LEIGH
                                                    Retained




                                                                  Ú
             PERRY, JOHN                            Lead Attorney
             Address                                WAYNE, BRADEN
             8609 BODKIN COURT                      M.
             CHARLOTTE NC 28215                     Retained




                                                                  Ú
                                                    Attorney
                                                    MCCAFFITY, SEAN
                                                    J
                                                    Retained




             COLEMAN, VALERIE

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                         10/27/2017
Details                                                                                     Page 3 of 22

             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17
             COOKE, CAITLIN V
                                                                   Page 4 of 23 PageID 24

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




             CREQUE, EDUARDO

             Address
             6301 IVY LN STE 700
             GREENBELT MA 20770




             FURR (KEEN), JESSICA M

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




             KELLER, KATHY

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




             NAGHMI, FOUAD

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




             NEAL, TAMMY

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




             WHYTE, MICHAELENE

             Address
             4035 RIDGE TOP RD STE 200

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                      10/27/2017
Details                                                                                           Page 4 of 22
             FAIRFAX VI 22030
             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17            Page 5 of 23 PageID 25




             WILLOBY, MELISSA

             Address
             4035 RIDGE TOP RD STE 200
             FAIRFAX VI 22030




             PEER, CHARLES F

             Address
             111 W LIBERTY ST
             CHARLESTOWN WV 25414




             Bond


                   Bond Type    Bond Number   Bond Amount   Current Bond Status

                  TRO CASH                    $100.00       POSTED
                  BOND




             Events and Hearings




                                          Ú




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                            10/27/2017
Details                                                                                     Page 5 of 22

             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 6 of 23 PageID 26




                                 Ú



               ESERVE




               PRIVATE PROCESS SERVER


               03/28/2016


                                              Ú



               ESERVE




               ESERVE




               2 ESERVE SOS RR


                                         Ú




                                     Ú




               TOBOLOWSKY, EMILY


               9:00 AM


               LYNN BROOKS


                                                           Ú




                 PROPOSED AGREED TEMPORARY RESTRAINING ORDER



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                      10/27/2017
Details                                                                                     Page 6 of 22
                                  
             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 7 of 23 PageID 27


                 AGREED TEMPORARY RESTRAING ORDER SUBMITTED TO
                 QUEUE


                                          




                 SEC OF STATE - MICHA LAVERNE GREEN


                                              




                 SECRETARY OF STATE CERTIFICATE - JOHN PERRY


                                                               




                 AGRD


                                                          




                                  




                                      




                                                      




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                      10/27/2017
Details                                                                                     Page 7 of 22
               eserve
             Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 8 of 23 PageID 28


               eserve




               eserve




                                 



               ESERVE




               ESERVE




               ESERVE




                                                     




                 Agreement Accepting Service - PacU


                                                 




                 PERRY'S AGREEMENT TO ACCEPT SERVICE ON WRIT TRO
                 AND NOTICE TO SHOW CAUSE


                                                             




                                                         




                 CASH BOND



                                             



               TOBOLOWSKY, EMILY

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                      10/27/2017
Details                                                                                                Page 8 of 22

             Case   3:17-cv-02971-B Document 2-1 Filed 10/27/17
               9:00 AM
                                                                              Page 9 of 23 PageID 29


               REQUESTED BY ATTORNEY/PRO SE


                                                     




                 Greene's Agreement Accepting Service


                                                                          




                 PROPOSED AGREED TEMPORARY INJUNCTION


                                            



                 AGREED TEMPORARY INJUCTION ORDER SUBMITTED TO
                 QUEUE


                                                                  




                 AGREED




                                                                      




                                       




                 Response to Plaintiff's Request for Disclosure


                                                 




                 FIRST

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                 10/27/2017
Details                                                                                     Page 9 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17
                                                                 Page 10 of 23 PageID 30




                 PROPOSED AGREED JUDGMENT


                                     



                 AGREED JUDGMENT SUBMITTED TO QUEUE


                                         




                 AGRD AS TO MICAH LAVERNE GREENE




                                 




                 AGREEMENT TO MEMORIALIZE THE AGREEMENT
                 REACHED


                                 




                                 




                 RE:OBJECTIONS




                                     




                                             




                 SCHEDULING ORDER

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                      10/27/2017
Details                                                                                     Page 10 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17
                                                                 Page 11 of 23 PageID 31




                 SCHEDULING ORDER


                                                  




                 JOINT


                                                      




                 MTN/ENTRY SCHED O & MTN/CONTINUANCE


                                                              




                 AGRD PROTECT


                                            



                 O/PROTECT TO ADMIN Q



                                        




               TOBOLOWSKY, EMILY


               9:00 AM


               CASE CLOSED


                                                          




                 Agreed Protective Order Letter


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
Details                                                                                       Page 11 of 22
                                    
            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17        Page 12 of 23 PageID 32




                                                



               TOBOLOWSKY, EMILY


               10:30 AM


               30 MIN ENTER SCHEDULING ORDER LYNNE FRANK 817/332-
               6633 JOHN PERRY 704/890-5646 TO ATTEND BY PHONE


                                                    




                                        




               TOBOLOWSKY, EMILY


               9:00 AM


               BY COURT ADMINISTRATOR


                                                        




                 Unopposed Motion for Admission Pro Hac Vice


                                                               




                 Proposed Order to Appear Pro Hac Vice


                                            



                 SUBMITTED O/PRO HAC VICE


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                         10/27/2017
Details                                                                                     Page 12 of 22
                                               
            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 13 of 23 PageID 33



                 JASON McELROY AND JEFFREY BLACKWOOD


                                            




                                                       




                               




                 RESPONSE DEADLINE


                                                  




                 & SUBSTITUTE ATTORNEY


                                                           




                 PROPOSED ORDER ON MOTION WITHDRAW &
                 SUBSTITTUE ATTORNEY


                                     



                 ORDER SUB & WITHDRAW SUBMITTED


                                                       




                                            




                                                           




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
Details                                                                                      Page 13 of 22
                 AMENDED SCHEDULING ORDER
            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17       Page 14 of 23 PageID 34
                                      



                 O/SCHEDULING SUBMITTED


                                                  




                 08/04/17


                                                           




                 AMD SCHEDULE


                                      



                 O/AMD SCHEDULE SUBMITTED


                                              




                                          



               TOBOLOWSKY, EMILY


               11:30 AM


               REQUESTED BY ATTORNEY/PRO SE


               30 MIN CATHERINE JOHNSON 214/965-7737


                                                               




                 1ST


                                          




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                        10/27/2017
Details                                                                                      Page 14 of 22

            CaseDEFENDANT'S
                 3:17-cv-02971-B  Document 2-1 Filed 10/27/17
                            PRODUCTION OF DOCUMENTS AND TO
                                                                   Page 15 of 23 PageID 35
                 OVERRULE DEFENDANT'S OBJECTIONS


                                                               




                 FOR PLAINTIFF MOTION TO COMPEL


                                        




                 TO COMMUNICATE WITH CERTAIN FORMER EMPLOYEES


                                                               




                 LEAVE TO COMMUNICATE


                                                  




                 OVERRULE OBJ & COMPEL


                                                  




                 PLTF COMPEL/LEAVE, 09/01/17 9:30A


                                                  




                 DEF OVERRULE & OBJECTIONS, 09/01/17 9A, 30M


                                   




                 TO M/COMPEL


                                              

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                        10/27/2017
Details                                                                                     Page 15 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 16 of 23 PageID 36

                 N/WITHDRAW M/COMMUNICATE


                                    




                 OPP TO M/COMPEL



                                              



               TOBOLOWSKY, EMILY


               9:00 AM


               - OVERRULE & OBJ - 30MIN . KATHERINE




                                          



               TOBOLOWSKY, EMILY


               09:30 AM


               30 MIN LYNN 817/332-6633


                                                           




                 COMPEL & OVERRULE OBJ


                                                           




                 OVERRULE OBJ & COMPEL


                                                  




                                                      

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
Details                                                                                     Page 16 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 17 of 23 PageID 37

                 OF THOMAS BLACK


                                      




                               



               ESERVE




               ESERVE




               ESERVE




               ESERVE




               ESERVE




               ESERVE




               ESERVE




               ESERVE




               ESERVE



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
Details                                                                                           Page 17 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17
              ESERVE
                                                                        Page 18 of 23 PageID 38



               10CIT ESERVE 19915739 bbrunner@bjplaw.com /TJ.


                                               




                 REQ PRIVATE LOG


                                           




                                 




                 OF SERVICE


                                                   




                 MOTION COMPEL 12/05/17 8:30AM


                                                                    




                 TO 2ND AMD COMPLAINT


                                                                




                                       




               TOBOLOWSKY, EMILY


               9:00 AM
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                             10/27/2017
Details                                                                                                 Page 18 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17
              BY COURT ADMINISTRATOR
                                                                              Page 19 of 23 PageID 39



                                        



               TOBOLOWSKY, EMILY


               8:30 AM


               30 MIN LYNNE FRANK 817/332-6633



                                        




               TOBOLOWSKY, EMILY


               9:00 AM




             Financial


                 Total Financial Assessment                         $491.00
                 Total Payments and Credits                         $491.00


              3/15/2016   Transaction                              $319.00
                          Assessment

              3/15/2016   CREDIT            Receipt   MONTAGE     ($319.00)
                          CARD -            #         MORTGAGE,
                          TEXFILE           16414-    LLC
                          (DC)              2016-
                                            DCLK




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                   10/27/2017
Details                                                                                      Page 19 of 22
             4/15/2016
            Case        Transaction Document 2-1 Filed 10/27/17
                 3:17-cv-02971-B                            $52.00 Page 20 of 23 PageID 40
                          Assessment

              4/15/2016   CREDIT        Receipt   MONTAGE     ($52.00)
                          CARD -        #         MORTGAGE,
                          TEXFILE       23781-    LLC
                          (DC)          2016-
                                        DCLK

              2/10/2017   Transaction                          $40.00
                          Assessment

              2/10/2017   CREDIT        Receipt   MONTAGE     ($40.00)
                          CARD -        # 8606-   MORTGAGE,
                          TEXFILE       2017-     LLC
                          (DC)          DCLK

              10/3/2017   Transaction                          $80.00
                          Assessment

              10/3/2017   CREDIT        Receipt   MONTAGE     ($80.00)
                          CARD -        #         MORTGAGE,
                          TEXFILE       64709-    LLC
                          (DC)          2017-
                                        DCLK




             Documents




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                        10/27/2017
Details                                                                                     Page 20 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 21 of 23 PageID 41




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
Details                                                                                     Page 21 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 22 of 23 PageID 42




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
Details                                                                                     Page 22 of 22

            Case 3:17-cv-02971-B Document 2-1 Filed 10/27/17      Page 23 of 23 PageID 43




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                       10/27/2017
